                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )
v.                                   )                        No. 3:09-CR-79
                                     )                        (JORDAN/SHIRLEY)
DEBORAH PHILLIPS, EDDIE E. ASLINGER, )
MICHAEL CARROLL, DAVID CHAMBLEE, )
TIFFANY CRASS, BRANDON MARTIN,       )
DANNY LEE MONDAY, LISA ORME,         )
FRANCES RICHARDSON,                  )
NATASHA RICHARDSON,                  )
NERISA ROGERS, ELIZABETH SCISCO,     )
DEADREA WILSON,                      )
                                     )
                Defendants.          )


                                    PRETRIAL ORDER

              This action came before the Court pursuant to a telephone conference on August 6,

2009 in which David Lewen as counsel for the government and Kim Tollison as counsel for

defendant Deborah Phillips; Ursula Bailey as counsel for defendant Eddie Aslinger; Robert Vogel

as counsel for defendant Michael Carroll; Steven Shope as counsel for defendant David Chamblee;

Ruth Ellis as counsel for defendant Tiffany Crass; Michael Coleman as counsel for defendant

Brandon Martin; Linda Mulligan-Hoag as counsel for defendant Danny Lee Monday; Alexander

Brown as counsel for defendant Lisa Orme; Leslie Jeffress as counsel for defendant Frances

Richardson; Christopher Irwin as counsel for defendant Natasha Richardson; Michael McGovern

as counsel for defendant Nerisa Rogers; Bradley Henry as counsel for defendant Elizabeth Scisco;




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and Theodore Kern as counsel for defendant Deadrea Wilson, indicated that this Pretrial Order could

be entered without the necessity of a formal hearing or pretrial conference.

                                                  I.

                There are no pending motions in this case.

                                                  II.

                Trial procedures to be followed in this case are as follows:

                (a) Jury Selection. The Court will conduct a preliminary voir dire examination of

the jury, and then counsel will be permitted to conduct voir dire examination. The Court reserves

the right to interrupt counsel and conduct voir dire on its own if counsel ask improper questions or

if the proceedings are unnecessarily prolongated.

                (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

entitled to ten peremptory challenges and the government is entitled to six.

                (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

identified as of this time.

                (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

problems were identified as of this time.

                (e) Special Requests for Jury Instructions. If counsel have any special requests

for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                (f) Additional Motions. No more motions, other than motions in limine, will be

allowed to be filed in this cause of action by either side without prior leave of Court to do so, since

the motion cut-off date has passed. All motions in limine must be filed at least five (5) working days

before trial. Responses to motions in limine are due at least two (2) working days before trial.

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                (g) Admissions and Stipulations. Counsel should meet in advance of trial and care-

fully review the trial exhibits with a view toward stipulating the admissibility of as many exhibits

as possible. Any admissions and stipulations of fact to be used at trial shall be signed by Defendant’s

attorney and the Defendant and filed at least five (5) working days before trial.

                (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves with

Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.

                (i) Jury List. The Clerk may provide counsel with a jury list containing names and

personal information concerning prospective petit jurors (hereafter “the jury list”). Counsel and any

other person provided with the jury list may not share the jury list or information therein except as

necessary for purposes of jury selection. Following jury selection, counsel and any other person

provided the jury list must return to the clerk the jury list and any copies made from the jury list or

destroy them.

                (j) Contact with Jurors. Unless permitted by the Court, no attorney, representative

of an attorney, party or representative of a party, may interview, communicate with, or otherwise

contact any juror or prospective juror before, during, or after the trial. Permission of the Court must

be sought by an application made orally in open court or upon written motion stating the grounds

and the purpose of the contact. If permission is granted, the scope of the contact and any limitations

upon the contact will be prescribed by the Court prior to the contact.




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                                              III.

              This case will be set for trial before the Honorable Leon Jordan and a jury, to

commence at 9:00 a.m. on August 31, 2009.

              If counsel have any objections to this Pretrial Order, such objection should be taken

up pursuant to Local Rule 72.4(b), EDTN.

              IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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